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SAQT99A (Rev 6/97) Order Setting Condilions of Release PAGE L OF 3 PAGES

FILED

UNITED STATES DISTRIGT COURT
ALBUQUERQUE, NEW MEXICO

UNITED STATES DISTRICT COURT .
AUG 0 3 2006

DISTRICT OF NEW MEXICO

MATTHEW J. DYKMAN

UNITED STATES OF AMERICA CLERK
ORDER SETTING CONDITIONS
VS. OF RELEASE
LLOYD. MONTOYA Cast NUMBER; 05-1849-30 JH
DEFENDANT

IT IS ORDERED that the release of the defendant is subject to the following conditions:
(1) The defendant shal! not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
address and telephone number.

(3) The defendant shall appeur at all proceedings as required and shall surrender for service of any sentence imposed as

directed. The defendant shall appear at (if blank, to be notified)

Place

on

Date and Time

Release on Personal Recognizance or Unsecured Bond
IS FURTHER ORDERED that the defendant be released provided that:
( X )¢4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.

{ )¢5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
dollars ($ }
in the event of a failure 1o appear as required or to surrender as directed for service of uny sentence imposed.

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(REV. 5/99) ADDTHONAL CONDITIONS OF RELEASE PAGE 2 UF 3 PAGES

ADDITIONAL CONDITIONS OF RELEASE

Upon finding that release by one of the above methods will not by iiself reasonably assure the appearance of the defendant and the safety of other persuns and the

communily.
ITS FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:
( ? (6) The defendant is placed in the custody of:
(Name of person or organization}
(Address)
(City and state) (Tel. No.)

who agrees (a) to supervise the defendant in accordance with all the conditions of release, (bilo use every effort to assure the appearance of the defendant at all scheduled courl
proceedings, and (c) to notify the court immediately in the event the defendant violates any condilions of release or disappears.

Signed:
Custodian or Proxy Date
( X ) (7) The defendant shall:

(Xj) (a) repartto the U.S. Pretrial/Probation .
telephone number 348-2600 . not later than .

( ) (bb) execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated property:

{ J (c) post with the court the following indicia of ownership of the above-described property. or the following amount or percentage of the above-described

( > (0) execute a bail bond with selvent sureties in the amount of §

(CX) (e) maintain or actively seek employment.

( J (2) maintain or commence an education program.

{ J) (e@)} surrender any passport to

( ) (0h) obtain ne passport.

(Xi) abide by the following restrictions on personal association. place of abode. of travel:

Travel restricted 10 within New Mexico unless authorized by Pretrial/Probation

(X) G) avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
prosecution, including but not limited to: No contact with co-defendants.

(  )¢k) undergo medical or psychiatric treatment and/or remain in an institution as follows:

( 2 0D return to custody each (week) day as of o'clock after being released cach (week} day as of o'clock for employment.
schooling, or lhe follwing limited purposets):

(  )(m) maintain residence at a halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising ollicer.

(Xi dn} refrain from possessing a firearm, destructive device, of other dangerous weapons,

{X) (oe) refrain from (X Jany (  ) excessive use of alcohul.

(X%) (p) refrain from use or unlawful possession of a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medicul
practitioner.

(X}(q) submit to any methed of testing required by the pretrial services office ur the supervising officer for determining whether the defendant is using a prohibited
substanee. Such methods may be used with random frequency and include urine testing, the wearing of a sweat patch, a remote afcuhol testing system, and/or
any form of prohibited substance screening or testing.

(X) (r) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising
officer,

(X2(s) refrain from obstructing or attempting to obstruct or tamper. in any fashion, with the efficiency and accuracy of any prohibited substance testing or electronic
monitoring which is (are) required as a condition(s) of release.

( } (1) participate in ane of the [ollowing home confinement program components and abide by all the requirements of the program which (jill or
{( will not include clecironi¢e monitoring or other location verification system, You shall pay all or part of the cost af the program hased upon your ability
to pay as determined by the pretrial services office or supervising officer.

(  )) (i) Curfew, You are restricted to your residence every day (¢  ) from to war )as directed by the pretrial
services oflice or supervising officer: or

(  ) Gi) Home Detention. You are restricted to your residence at all times except for employment; education: religious services: medical, substance abuse,
or mental health treatment; attorney visits; courl appearances; court-ordered obligations; or other activilies as pre-approved by the pretrial services
oftice or supervising officer: or

{ > i) Nome Incarceration. You are restricted to your residence at all times except for medical needs or treatment, religious services, and court
appearances pre-approved by the pretrial services office or supervising officer.

(X) Qu) report as soun as possible, to the pretrial services office or supervising officer any contaet with any Jaw enforcement personnel, including, but not limited
to. any arrest, questioning, or traffic stop.

(X}(¥)) Maintain residence with mother and step-father.

{ J (4)

( d(x)

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®AO1990C | (Rev.[2403) Advice of Penalties... PAGE 3. oF 3 PAGTS

ADVICE OF PENALTIES AND SANCTIONS
TO ‘THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment. a fine,
or both.

The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of not more than ten vears. if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant: or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or bath;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen vears, you shall be fined not

more than $250,000 or imprisoned for not more than five years. or both:

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both:

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant

] acknowledge that ] am the defendant in this case and that | am aware of the conditions of release. | promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. [am aware of the penalties and sanctions set forth
above.

vw f AN
Signature of Dgtendant
Witnes 154 Mutt Nelson Rd.
Address
Santa Fe, NM 87507 505- 471-8664
City and State Telephone

Directions to United States Marshal

( X ) The defendant is ORDERED released after processing.

( The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. The defendant shall be produced before the appropriate
judge at the time and place specified, if still in custody,

Date: A LLRUST 3 2006 CPR LL

Signature of Judicial Officer

W, Daniel Schneider, U.S. Magistrate Judge
Name and Title of Judicial Officer

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